          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        SHELBY DIVISION

                         CRIMINAL NO. 4:96CR53


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )           ORDER
                                          )
                                          )
TONY HOEY                                 )
                                          )


      THIS MATTER is before the Court on the Defendant’s pro se motion

for reconsideration by the Court of the denial of his motion for reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2) or, in the alternative, a motion

to amend judgment. The motion is denied.

      On December 18, 2008, Defendant timely appealed the Court’s

Order denying his motion for reduction of sentence pursuant to the

amended Guidelines regarding crack cocaine offenses. See Order, filed

December 15, 2008; Defendant’s Notice of Appeal, filed December 18,

2008. Because the appeal is currently pending with the Fourth Circuit

Court of Appeals, and Defendant has failed to show any justification to

warrant amendment of the prior Order, the motion is denied.




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     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

reconsideration and/or to amend judgment is hereby DENIED.

                                    Signed: January 16, 2009




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